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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )       No. 10-cr-30118-DRH
                                              )
 MICHAEL LENTINE,                             )
                                              )
        Defendant.                            )


                                             ORDER

 HERNDON, Chief Judge:

        This matter is before the Court on the Motion of the United States pursuant to Rule 17(c)(1)

 of the Federal Rules of Criminal Procedure and the All Writs Act, 28 U.S.C. §1651, for an order

 compelling Chase Bank USA, N.A. to produce certain documents described in a trial subpoena prior

 to the sentencing hearing.

        The Court finds that the government’s motion is well taken and the same is GRANTED. IT

 IS HEREBY ORDERED that Chase Bank USA, N.A. produce the requested documents to the

 attorney for the government, Bruce Reppert, Assistant U.S. Attorney, 9 Executive Drive, Fairview

 Heights, Illinois 62208 on or before December 17, 2010.

        IT IS SO ORDERED.
                                                                               David R. Herndon
                                                                               2010.11.15
                                                                               12:28:37 -06'00'
                                                             DAVID R. HERNDON
                                                             Chief Judge
                                                             United States District Court
